Case 19-14334   Doc 3   Filed 12/12/19   Entered 12/12/19 14:43:53   Desc Main
                           Document      Page 1 of 8
Case 19-14334   Doc 3   Filed 12/12/19   Entered 12/12/19 14:43:53   Desc Main
                           Document      Page 2 of 8
Case 19-14334   Doc 3   Filed 12/12/19   Entered 12/12/19 14:43:53   Desc Main
                           Document      Page 3 of 8
Case 19-14334   Doc 3   Filed 12/12/19   Entered 12/12/19 14:43:53   Desc Main
                           Document      Page 4 of 8
Case 19-14334   Doc 3   Filed 12/12/19   Entered 12/12/19 14:43:53   Desc Main
                           Document      Page 5 of 8
Case 19-14334   Doc 3   Filed 12/12/19   Entered 12/12/19 14:43:53   Desc Main
                           Document      Page 6 of 8
Case 19-14334   Doc 3   Filed 12/12/19   Entered 12/12/19 14:43:53   Desc Main
                           Document      Page 7 of 8
Case 19-14334   Doc 3   Filed 12/12/19   Entered 12/12/19 14:43:53   Desc Main
                           Document      Page 8 of 8
